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  12
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  13

  14

  15                         UNITED STATES DISTRICT COURT
  16                       SOUTHERN DISTRICT OF CALIFORNIA

  17

  18   SCOTT KUHNE, individually and on
       behalf of all others similarly situated,
  19

  20          Plaintiff,                          Case No. 3:20-cv-00649-DMS-DEB
  21   v.
  22                                              SECOND AMENDED CLASS
       GOSSAMER BIO, INC., SHEILA                 ACTION COMPLAINT FOR
  23   GUJRATHI, M.D., BRYAN                      VIOLATIONS OF THE FEDERAL
  24   GIRAUDO, FAHEEM HASNAIN,                   SECURITIES LAWS
       JOSHUA H. BILENKER, M.D.,
  25
       KRISTINA BUROW, RUSSELL                    JURY TRIAL DEMANDED
  26   COX, THOMAS DANIEL, M.D.,
       RENEE GALA, OTELLO
  27
       STAMPACCHIA, Ph.D., MERRILL
  28   LYNCH, PIERCE, FENNER &
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   1   SMITH INCORPORATED, SVB
   2   LEERINK LLC, BARCLAYS
       CAPITAL INC., and EVERCORE
   3   GROUP L.L.C.,
   4
              Defendants.
   5

   6

   7         Lead Plaintiff, Scott Kuhne, (“Lead Plaintiff”), individually and on behalf of

   8   all others similarly situated, by and through his attorneys, alleges the following
   9
       upon personal knowledge as to his own acts, and upon information and belief as to
  10

  11   all other matters, based upon the investigation conducted by and through his
  12   attorneys, which included, among other things, a review of documents filed by
  13
       Defendants (as defined below) with the United States Securities and Exchange
  14

  15   Commission (the “SEC”), news reports, press releases issued by Defendants, and
  16   other publicly available documents. Lead Plaintiff believes that substantial
  17
       additional evidentiary support will exist for the allegations set forth herein after a
  18

  19   reasonable opportunity for discovery.
  20                   NATURE AND SUMMARY OF THE ACTION
  21
             1.     This is a federal securities class action on behalf of all investors who
  22

  23   purchased or otherwise acquired Gossamer Bio, Inc. (“Gossamer” or the
  24
       “Company”) common stock pursuant or traceable to Gossamer’s Registration
  25
       Statement and Prospectus in connection with its February 8, 2019 Initial Public
  26

  27   Offering (the “IPO”), seeking to recover damages caused by Defendants’
  28
                                                 2
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   1   violations of the federal securities laws and to pursue remedies under §§ 11 and 15
   2
       of the Securities Act of 1933 (the “Securities Act”).
   3

   4         2.     The issuance of Gossamer common stock in connection with the IPO

   5   was registered under the Securities Act, as amended, pursuant to Gossamer’s
   6
       Registration Statement on Form S-1 (File No. 333-228984) declared effective on
   7

   8   February 7, 2019. This case arises from untrue statements and omissions of

   9   material fact made in these IPO materials.
  10
             3.     Gossamer is a clinical-stage biopharmaceutical company focused on
  11

  12   discovering, acquiring, developing, and commercializing therapeutics in the

  13   disease areas of immunology, inflammation, and oncology. The Company’s lead
  14
       and most advanced drug candidate, GB001, is an oral antagonist of prostaglandin
  15

  16   D2 receptor 2, or DP2, in development for the treatment of moderate-to-severe
  17   eosinophilic asthma and other allergic conditions. Gossamer’s GB001 product is in
  18
       Phase 2 development for asthma and rhinosinusitis.
  19

  20         4.     In its IPO, Gossamer and the Underwriter Defendants sold 19,837,500
  21   shares of common stock at an initial public offering price of $16.00 per share, for a
  22
       total offering price of $317.4 million. Proceeds to the Company, net of
  23

  24   underwriting discounts and commissions, were $256.68 million.
  25         5.     Defendants in this action consist of Gossamer, the Gossamer
  26
       executives and directors who signed the Registration Statement, and the
  27

  28   underwriters to the IPO (collectively, “Defendants”).
                                                 3
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   1         6.     In violation of the Securities Act, Defendants issued untrue statements
   2
       of material facts and omitted to state material facts required to be stated from the
   3

   4   Registration Statement and accompanying and incorporated offering materials that

   5   Gossamer filed with the SEC in support of the IPO. Specifically, Defendants
   6
       misrepresented and/or misled investors, among other things, that: (1) Novartis,
   7

   8   who had a product that would compete against GB001 in the works, had a

   9   successful Phase 2 trial that had clinically validated DP2 antagonism; and (2) upon
  10
       the release of the results of a successful interim analysis of the Phase 2b LEDA
  11

  12   study for GB001 in the first half of 2020, Gossamer would launch the first of two

  13   planned Phase 3 studies for GB001.
  14
             7.     Defendants are strictly liable for any material untrue statements or
  15

  16   omissions in the IPO materials. Furthermore, because this case involves a
  17   Registration Statement, Defendants also had an independent, affirmative duty to
  18
       provide adequate disclosures about adverse conditions, risks, and uncertainties. See
  19

  20   Item 303 of SEC Reg. S-K, 17 C.F.R. § 229.303(a)(3)(ii) (requiring that the
  21   materials incorporated in a Registration Statement disclose all “known trends or
  22
       uncertainties” reasonably expected to have a material unfavorable impact on the
  23

  24   Company’s operations); and Item 105 of SEC Reg. S-K, 17 C.F.R. § 229.105
  25   (requiring the materials in a Registration Statement to disclose a “discussion of the
  26
       most significant factors that make the offering speculative or risky”).
  27

  28
                                                 4
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   1         8.    Thus, Defendants had an affirmative duty to ensure that the
   2
       Registration Statement and the materials incorporated therein disclosed material
   3

   4   trends and uncertainties that they knew or should have reasonably expected would

   5   have a materially adverse impact on Gossamer’s business. Defendants failed to
   6
       fulfill this obligation. Unfortunately for investors who purchased Gossamer’s
   7

   8   shares pursuant and/or traceable to the IPO, however, the truth did not begin to

   9   emerge until after the IPO was complete.
  10
             9.    Over the next several months, Gossamer continued to publicly state
  11

  12   that “DP2 antagonism has been clinically validated by Novartis’ oral DP2

  13   antagonist, fevipiprant.” Moreover, Gossamer continued to assure investors that
  14
       upon the release of the results of a successful interim analysis of the Phase 2b
  15

  16   LEDA study for GB001 in the first half of 2020, Gossamer would launch the first
  17   of two planned Phase 3 studies for GB001. Based on these representations,
  18
       Gossamer’s stock price soared to a high of $27.15 per share.
  19

  20         10.   In the materials accompanying the IPO, Defendants made materially
  21   false and/or misleading statements, as well as failed to disclose material adverse
  22
       facts about the Company’s business, operations, and compliance policies.
  23

  24   Specifically, Defendants misrepresented and/or failed to disclose to investors: (1)
  25   the purported clinical validation of Novartis’ oral DP2 antagonist; (2) that
  26
       Gossamer did not plan to release the details of its interim analysis of the Phase 2b
  27

  28   LEDA study and did not plan to launch a Phase 3 trial for GB001 upon such
                                                  5
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   1   analysis; and (3) as a result of the foregoing, Defendants’ public statements were
   2
       materially false and misleading at all relevant times.
   3

   4          11.    In October 2019, Novartis announced that its fevipiprant product had

   5   failed to improve long function in two Phase 3 trials, as measured by FEV1, over
   6
       placebo.
   7

   8          12.    Then on November 12, 2019, Gossamer stated that it would not be

   9   releasing any of the data associated with its purported interim analysis of the Phase
  10
       2b LEDA study in the first half of 2020, but would only “be indicating whether we
  11

  12   think the data’s in support of moving forward into Phase III, planning and

  13   initiation purposes,” and would not even disclose the Company’s decision on
  14
       whether to commence a Phase III trial.
  15

  16          13.    On December 16, 2019, Novartis announced that it was terminating
  17   the development of its DP2 antagonist fevipiprant for asthma after it failed another
  18
       pair of Phase 3 clinical trials.
  19

  20          14.    Analysts noted that “[w]hen Gossamer raised $276 million in an IPO
  21   earlier in [2019], it said Novartis’ fevipiprant phase 2 had been clinically validated
  22
       DP2 antagonism. That statement now looks premature, particularly when viewed
  23

  24   in light of the failures of other DP2 drugs.” 1
  25          15.    On this news, the stock plummeted from a December 13, 2019 closing
  26
       price of $25.37 per share to $15.96 per share, a one day drop of $9.41 or over 37%.
  27
       1
  28    https://www.fiercebiotech.com/biotech/novartis-asthma-drug-fails-phase-3-raising-doubts-
                                                      6 30, 2020).
       about-gossamer-s-prospects (last visited on August
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   1         16.    Then on October 13, 2020, Gossamer announced the topline results
   2
       for the Phase 2b LEDA trial of GB001 in eosinophilic asthma: the trial failed to
   3

   4   meet its primary endpoints. Moreover, the Company announced that GB001 had

   5   failed to meet its primary or secondary endpoints in the Phase 2 TITAN trial for
   6
       treatment of chronic rhinosinusitis. 2
   7

   8         17.    As a result of Defendants’ wrongful acts and omissions, and the

   9   precipitous decline in the market value of the Company’s securities, Lead Plaintiff
  10
       and other Class members have suffered significant losses and damages.
  11

  12         18.    By this action, Lead Plaintiff, on behalf of himself and other Class

  13   Members who also acquired Gossamer’s shares pursuant or traceable to the
  14
       Offering, and now seeks to obtain a recovery for the damages suffered as a result
  15

  16   of Defendants’ violations of the Securities Act, as alleged herein.
  17         19.    The Securities Act claims asserted herein are purely strict liability and
  18
       negligence claims and do not sound in fraud.
  19

  20                             JURISDICTION AND VENUE
  21         20.    The federal law claims asserted herein arise under and pursuant to §§
  22
       11 and 15 of the Securities Act (15 U.S.C. §§ 77k and 77o).
  23

  24
             21.    This Court has subject matter jurisdiction over this action pursuant to

  25   28 U.S.C. §1331 and § 22 of the Securities Act.
  26

  27

  28
       2                                            7
        https://www.sec.gov/Archives/edgar/data/1728117/000156459020046250/goss-ex991_6.htm.
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   1          22.   This Court has jurisdiction over each Defendant named herein
   2
       because each Defendant is an individual or corporation who has sufficient
   3

   4   minimum contacts with this District so as to render the exercise of jurisdiction by

   5   the District Court permissible under traditional notions of fair play and substantial
   6
       justice.
   7

   8          23.   This Court has personal jurisdiction over each of the Defendants, and

   9   venue is proper in this District. Gossamer is headquartered in this District.
  10
              24.   In connection with the acts, omissions, conduct and other wrongs in
  11

  12   this Complaint, Defendants, directly or indirectly, used the means and

  13   instrumentalities of interstate commerce, including but not limited to the United
  14
       States mail, interstate telephone communications and the facilities of the national
  15

  16   securities exchange.
  17                                        PARTIES
  18
              25.   Lead Plaintiff Scott Kuhne, as reflected in his Certification (ECF No.
  19
       1-2), acquired shares of Gossamer common stock at artificially inflated prices,
  20

  21   pursuant and/or traceable to the IPO, and has been damaged.
  22
              26.   Defendant Gossamer Bio, Inc. is incorporated under the laws of
  23

  24
       Delaware, with its principal place of business at 3013 Science Park Road, San

  25   Diego, CA 92121. Its common stock trades on the Nasdaq stock exchange under
  26
       the symbol GOSS.
  27

  28
                                                 8
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   1         27.    Defendant Sheila Gujrathi, M.D., is the Co-Founder and Chief
   2
       Executive Officer of Gossamer, and has served in those capacities at all times
   3

   4   relevant hereto. Dr. Gujrathi signed the false and misleading Registration

   5   Statement.
   6
             28.    Defendant Bryan Giraudo is Gossamer’s Chief Financial Officer, and
   7

   8   has served in that capacity at all times relevant hereto. Mr. Giraudo signed the false

   9   and misleading Registration Statement.
  10
             29.    Defendants Gujrathi and Giraudo are named as Defendants for
  11

  12   violations of all counts asserted herein, and are sometimes referred to as the

  13   “Management Defendants.” The Management Defendants, because of their
  14
       positions with the Company, possessed the power and authority to control the
  15

  16   contents of the Company’s reports to the SEC, press releases and presentations to
  17   securities analysts, money and portfolio managers, and the investing public, i.e.,
  18
       the market. The Individual Defendants were provided with copies of the
  19

  20   Company’s reports and press releases alleged herein to be misleading prior to, or
  21   shortly after, their issuance and had the ability and opportunity to prevent their
  22
       issuance or cause them to be corrected. Because of their positions and access to
  23

  24   material, non-public information available to them, the Individual Defendants
  25   knew that the adverse facts specified herein had not been disclosed to, and were
  26
       being concealed from, the public, and that the positive representations that were
  27

  28
                                                 9
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    1   being made were then materially false and/or misleading. The Individual
    2
        Defendants are therefore liable for the misstatements and omissions plead herein.
    3

    4         30.    Defendant Faheem Hasnain is the Executive Chairman of the Board of

    5   Directors, and he signed the false and misleading Registration Statement.
    6
              31.    Defendant Joshua H. Bilenker, M.D., is a Director on Gossamer’s
    7

    8   Board of Directors, and he signed the false and misleading Registration Statement.

    9         32.    Defendant Kristina Burow is a Director on Gossamer’s Board of
   10
        Directors, and she signed the false and misleading Registration Statement.
   11

   12         33.    Defendant Russell Cox is a Director on Gossamer’s Board of

   13   Directors, and he signed the false and misleading Registration Statement.
   14
              34.    Defendant Thomas Daniel, M.D., is a Director on Gossamer’s Board
   15

   16   of Directors, and he signed the false and misleading Registration Statement.
   17         35.    Defendant Renée Galá, is a Director on Gossamer’s Board of
   18
        Directors, and she signed the false and misleading Registration Statement.
   19

   20         36.    Defendant Otello Stampacchia, Ph.D., is a former Director on
   21   Gossamer’s Board of Directors, and he signed the false and misleading
   22
        Registration Statement. Defendant Stampacchia is the founder and managing
   23

   24   director of Omega Funds, a company that invests in biopharma and medical device
   25   startups in the United States.
   26
              37.    Defendants Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and
   27

   28   Stampacchia are named as Defendants for violations of the Securities Act.
                                                10
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    1   Underwriter Defendants
    2
              38.    Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated
    3

    4   (“Merrill Lynch”) was an underwriter of Gossamer’s IPO and assisted in the

    5   preparation and dissemination of Gossamer’s IPO materials.
    6
              39.    Defendant SVB Leerink LLC (“Leerink”) was an underwriter of
    7

    8   Gossamer’s IPO and assisted in the preparation and dissemination of Gossamer’s

    9   IPO materials.
   10
              40.    Defendant Barclays Capital Inc. (“Barclays”) was an underwriter of
   11

   12   Gossamer’s IPO and assisted in the preparation and dissemination of Gossamer’s

   13   IPO materials.
   14
              41.    Defendant Evercore Group L.L.C. (“Evercore”) was an underwriter of
   15

   16   Gossamer’s IPO and assisted in the preparation and dissemination of Gossamer’s
   17   IPO materials.
   18
              42.    Defendants Merrill Lynch, Leerink, Barclays, and Evercore are
   19

   20   sometimes referred to herein as the “Underwriter Defendants,” and are named as
   21   Defendants for violations of § 11 of the Securities Act.
   22
              43.    The Underwriter Defendants were instrumental in soliciting and
   23

   24   making the stock offered in the IPO available to the investing public, as set forth in
   25   the following chart:
   26

   27

   28
                                                 11
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    1                     Name                                  Number of Shares
    2
                      Merrill Lynch                                  5,175,000
    3

    4                    Leerink                                     4,830,000

    5                    Barclays                                    3,795,000
    6
                        Evercore                                     3,450,000
    7

    8

    9
              44.     Pursuant to the Securities Act, the Underwriter Defendants are liable
   10
        for the false and misleading statements in the IPO materials. The Underwriter
   11

   12   Defendants’ failure to conduct adequate due diligence investigations was a
   13
        substantial factor leading to the harm complained of herein.
   14
              45.     The Underwriter Defendants are primarily investment banking houses
   15

   16   that specialize in, among other things, underwriting public offerings of securities.
   17
        As the underwriters of the IPO, the Underwriter Defendants earned lucrative
   18
        underwriting fees as a result of their participation in the IPO.
   19

   20         46.     In addition, the Underwriter Defendants met with potential investors
   21
        and presented highly favorable, but materially incorrect and/or materially
   22
        misleading, information about Gossamer, its business, products, plans, and
   23

   24   financial prospects, and/or omitted to disclose material information required to be
   25
        disclosed under the federal securities laws and applicable regulations promulgated
   26
        thereunder.
   27

   28
                                                  12
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    1         47.    Representatives of the Underwriter Defendants also assisted
    2
        Gossamer and the Individual Defendants in planning the IPO. They further
    3

    4   purported to conduct an adequate and reasonable investigation into the business,

    5   operations, products, and plans of the Company, an undertaking known as a “due
    6
        diligence” investigation. During their “due diligence,” the Underwriter Defendants
    7

    8   had continual access to confidential corporate information concerning Gossamer’s

    9   business, financial condition, products, plans, and prospects.
   10
              48.    In addition to having access to internal corporate documents, the
   11

   12   Underwriter Defendants and/or their agents, including their counsel, had access to

   13   Gossamer’s lawyers, management, directors, and top executives to determine: (1)
   14
        the strategy to best accomplish the IPO; (2) the terms of the IPO, including the
   15

   16   price at which Gossamer’s common stock would be sold; (3) the language to be
   17   used in the Registration Statement and Prospectus; (4) what disclosures about
   18
        Gossamer would be made in the Registration Statement and Prospectus; and (5)
   19

   20   what responses would be made to the SEC in connection with its review of the
   21   Registration Statement. As a result of those constant contacts and communications
   22
        between the Underwriter Defendants’ representatives and Gossamer’s management
   23

   24   and top executives, at a minimum, the Underwriter Defendants should have known
   25   of the undisclosed and/or misrepresented issues at Gossamer in the IPO materials
   26
        as alleged herein.
   27

   28
                                                 13
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    1             49.    The Underwriter Defendants caused the Registration Statement to be
    2
        filed with the SEC and declared effective in connection with offers and sales of
    3

    4   Gossamer’s shares pursuant and/or traceable to the IPO and relevant offering

    5   materials, including to Lead Plaintiff and the Class.
    6
                                     SUBSTANTIVE ALLEGATIONS
    7
                  50.    Gossamer is a clinical-stage biopharmaceutical company focused on
    8

    9   discovering, acquiring, developing, and commercializing therapeutics in the
   10
        disease areas of immunology, inflammation, and oncology. The Company’s lead
   11
        and most advanced drug candidate, GB001, is an oral antagonist of prostaglandin
   12

   13   D2 receptor 2, or DP2, in development for the treatment of moderate-to-severe
   14
        eosinophilic asthma and other allergic conditions. Gossamer’s GB001 product is in
   15
        Phase 2 development for asthma and rhinosinusitis.
   16

   17             51.    Gossamer “acquired GB001 pursuant to a merger agreement with AA
   18
        Biopharma” in January 2018, “under which [the Company] issued to former AA
   19
        Biopharma shareholders an aggregate of 20,000,000 shares of [Gossamer’s] Series
   20

   21   Seed convertible preferred stock and 1,101,278 shares of [Gossamer’s] common
   22
        stock.” 3 Specifically, Gossamer acquired GB001 through an acquisition of
   23

   24
        Pulmagen Therapeutics (Asthma) Limited, or Pulmagen, a wholly-owned

   25

   26

   27

   28
        3                                                  14
            https://www.sec.gov/Archives/edgar/data/1728117/000119312519032320/d626440d424b4.htm at 82.
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    1   subsidiary of AA BioPharma, “after its partner, Teijin, completed a positive Phase
    2
        2, proof-of-concept clinical trial in Japanese patients.” 4
    3

    4              52.    Gossamer commenced a Phase 2b clinical trial for GB001 in October

    5   2018.
    6
                   53.   According to the Company:
    7

    8              GB001 has been shown in preclinical studies to be a selective
                   antagonist of the DP2 receptor. GB001 binds reversibly to human
    9              DP2 with an affinity, or Ki, of 1 to 2 nanomolar, significantly greater
   10              than its affinity for the other PGD2 receptors. No significant activity
                   was demonstrated in a standard selectivity panel of 90 other receptors
   11              and enzymes. GB001 has also shown a slow rate of disassociation
   12              from DP2, with a receptor residence time of 19.8 minutes, as
                   measured by half-life. Additionally, in an in vitro assay, GB001
   13              inhibited PGD2 induced internalization of DP2. Combined with our
   14              observed human plasma half-life of 10 to 15 hours, we believe these
                   measurements support the oral, once-daily dosing regimen of GB001. 5
   15

   16        DEFENDANTS’ MISSTATEMENTS AND/OR OMISSIONS IN THE IPO
                                 MATERIALS
   17
                   54.   The IPO materials contained materially misleading misrepresentations
   18

   19   and omitted information necessary to make the statements made therein not
   20
        misleading, and omitted material facts required to be stated therein. Specifically, as
   21
        alleged herein, the IPO materials and Gossamer’s post-IPO statements misled
   22

   23   investors with respect to: (1) the purported clinical validation of Novartis’ oral
   24
        DP2 antagonist; and (2) Gossamer’s purported plan to release the results of its
   25

   26

   27

   28   4
            Id. at 95.
        5
            Id. at 93.                               15
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    1   interim analysis of the Phase 2b LEDA study and to launch the first of two Phase 3
    2
        trials for GB001 upon such analysis.
    3

    4         55.   On or about December 21, 2018, Gossamer filed with the SEC a Form

    5   S-1 Registration Statement (File Number 333-228984), beginning the process
    6
        toward what would lead to the Company’s February 2019 IPO.
    7

    8         56.   The S-1 Registration Statement provided, in relevant part:

    9         GB001 (DP2 Antagonist)
   10
              GB001 is an oral antagonist of prostaglandin D2 receptor 2, or DP2,
   11         in development for the treatment of moderate-to-severe eosinophilic
   12         asthma and other allergic conditions. Eosinophilic asthma is caused by
              high levels of white blood cells known as eosinophils and is
   13         associated with more severe symptoms, late-onset disease and
   14         resistance to steroid treatment. We estimate that approximately 50%
              of severe asthma patients in the United States have eosinophilic
   15         asthma. Despite the availability of new biologic therapies for these
   16         patients, asthma exacerbations remain a significant healthcare
              problem and unmet medical need. As of December 15, 2018, GB001
   17         had been studied in 409 subjects in total and was generally well
   18         tolerated. In a Phase 2 clinical trial conducted in Japan, GB001
              showed a statistically significant improvement in time-to-first asthma
   19         exacerbation compared to placebo. In a separate 248 subject Phase 2
   20         clinical trial, neither treatment group, GB001 nor montelukast,
              achieved the primary endpoint of improvement in forced expiratory
   21         volume in one second, or FEV1, as compared to placebo, which we
   22         believe was primarily related to study design and execution issues
              related to patient selection, including adherence to inhaled
   23         corticosteroid therapy, eosinophilic phenotype thresholds and disease
   24         severity. A single serious adverse event deemed by the investigator
              likely to be related to study drug was observed in a Japanese patient
   25         who had received a 160 mg dose of GB001 in a Phase 1 clinical trial
   26         conducted by Teijin Pharma Limited, or Teijin. The patient had
              GB001 levels approximately three to five times higher than the other
   27         patients receiving the 160 mg dose, and the dose was significantly
   28         higher than the highest dose of 60 mg currently being evaluated in our
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    1         ongoing Phase 2b clinical trial. We commenced a Phase 2b clinical
    2
              trial in moderate-to-severe eosinophilic asthma in October 2018.

    3         Furthermore, we believe that there are a number of indications along
    4         the allergic spectrum for which GB001 may provide benefit.
              Accordingly, we plan to pursue the parallel development of GB001 in
    5         chronic rhinosinusitis with nasal polyps, or CRSwNP, and chronic
    6         spontaneous urticaria, or CSU. We expect to initiate proof-of-concept
              Phase 2 clinical trials for these indications in 2019. We retain
    7         worldwide rights to GB001, excluding Japan.
    8
              57.   The S-1 Registration Statement further provided, in relevant part:
    9

   10         DP2 antagonism has been clinically validated by Novartis’ oral DP2
              antagonist, fevipiprant, in a Phase 2 clinical trial. In this trial, both
   11         the 150 mg once-daily and 75 mg twice-daily doses demonstrated
   12         statistically significant improvements in FEV1 compared to placebo in
              adult patients with asthma inadequately controlled with ICS. In
   13         addition, post hoc analyses of Phase 2 safety data related to asthma
   14         worsening, including exacerbations, appeared to demonstrate a
              reduction in the number of subjects experiencing an asthma event on
   15         fevipiprant compared to placebo. As of December 15, 2018,
   16         fevipiprant, at 150 mg once-daily and 450 mg once-daily doses, is
              being investigated by Novartis in six Phase 3 clinical trials in asthma
   17         patients.
   18
        (Emphasis added.)
   19

   20         58.   The S-1 Registration Statement further provided, in relevant part:
   21         Clinical Development History of GB001
   22
                     We acquired GB001 through our acquisition of Pulmagen
   23         Therapeutics (Asthma) Limited, or Pulmagen, a wholly-owned
   24         subsidiary of our AA BioPharma Inc. subsidiary, in January 2018,
              after its partner, Teijin, completed a positive Phase 2, proof-of-
   25         concept clinical trial in Japanese patients. We have rights outside of
   26         Japan to all of the data from the two Phase 2 clinical trials conducted
              by Pulmagen and Teijin described below. As of December 15, 2018,
   27         409 subjects have received at least one dose of GB001.
   28
                                                 17
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    1          Summary of Completed Pulmagen Phase 2 Clinical Trial
    2
                      In December 2014, Pulmagen completed a Phase 2 clinical trial
    3          of GB001, the primary objectives of which were (1) to evaluate the
    4          safety and efficacy of 20 mg GB001 once daily compared to placebo
               and an active comparator, montelukast, over a 10-week treatment
    5          period and (2) to evaluate the effect of the co-administration of 10 mg
    6          montelukast once daily with GB001 treatment in a two-week
               extension. The primary endpoint was improvement in FEV1 over 10
    7          weeks. The study enrolled 248 patients with mild to moderate asthma
    8          that were uncontrolled on low- or medium-dose ICS, randomized
               1:1:1 to placebo, 20 mg GB001 once daily and 10 mg montelukast
    9          once daily. Patients were put on a standard medium-dose of ICS in a
   10          four week lead-in to the study, during which they were also removed
               from their LABA, if applicable.
   11

   12                  GB001 was generally well tolerated with a treatment emergent
               adverse event, or TEAE, rate similar to placebo, but the study did not
   13          meet its primary endpoint. Notably, neither the active comparator,
   14          montelukast, nor GB001, showed statistically significant differences
               in FEV1 improvement as compared to placebo. We believe the lack of
   15          statistically significant differences between the active treatment arms
   16          and placebo was primarily related to study design and execution
               issues related to patient selection, including adherence to ICS therapy,
   17          eosinophilic phenotype thresholds and disease severity.
   18
               59.   The S-1 Registration Statement was signed by Defendants Gujrathi,
   19

   20   Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and Stampacchia. This
   21   document also identified the Underwriter Defendants as the underwriters of the
   22
        IPO.
   23

   24          60.   On or about January 23, 2019, Gossamer filed with the SEC a Form
   25   S-1/A Registration Statement, which would later be utilized for the IPO, and which
   26
        incorporated a prospectus to be used in connection with the offer and sale of
   27

   28   Gossamer shares.
                                                 18
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    1         61.    The January 23, 2019 Form S-1/A Registration Statement contained
    2
        substantially similar representations regarding GB001 and Novartis’ Phase 2
    3

    4   clinical trial as those in the Form S-1 Registration Statement set forth above.

    5         62.    The January 23, 2019 Form S-1/A Registration Statement was signed
    6
        by Defendants Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá,
    7

    8   and Stampacchia. This document also identified the Underwriter Defendants as the

    9   underwriters of the IPO.
   10
              63.    On or about January 30, 2019, Gossamer filed with the SEC a Form
   11

   12   S-1/A Registration Statement, which would later be utilized for the IPO, and which

   13   incorporated a prospectus to be used in connection with the offer and sale of
   14
        Gossamer shares.
   15

   16         64.    The January 30, 2019 Form S-1/A Registration Statement contained
   17   substantially similar representations regarding GB001 and Novartis’ Phase 2
   18
        clinical trial as those in the Form S-1 Registration Statement set forth above.
   19

   20         65.    The January 30, 2019 Form S-1/A Registration Statement was signed
   21   by Defendants Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá,
   22
        and Stampacchia. This document also identified the Underwriter Defendants as the
   23

   24   underwriters of the IPO.
   25         66.    On or about February 8, 2019, Gossamer filed the final version of the
   26
        public offering prospectus for the IPO with the SEC on Form 424(b)(4) (the
   27

   28
                                                  19
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    1   “Prospectus”),6 which forms part of the Registration Statement that became
    2
        effective on February 7, 2019 (collectively, the “Offering Documents”). The
    3

    4   Prospectus solicited investors for an IPO of 17.25 million shares of Gossamer

    5   common stock at a price of $16.00 per share, for proceeds – after underwriting
    6
        discounts and commissions, but before expenses – to the Company of
    7

    8   approximately $256.68 million.

    9            67.     According to the Prospectus, “[o]ur directors and executive officers
   10
        and holders of substantially all of our outstanding securities have entered into lock-
   11

   12   up agreements with the underwriters pursuant to which they may not, with limited

   13   exceptions, for a period of 180 days from the date of this prospectus, offer, sell or
   14
        otherwise transfer or dispose of any of our securities, without the prior written
   15

   16   consent of” the Underwriter Defendants.
   17            68.     The Prospectus further provided that:
   18
                 DP2 antagonism has been clinically validated by Novartis’ oral DP2
   19            antagonist, fevipiprant, in a Phase 2 clinical trial. In this trial, both the
   20            150 mg once-daily and 75 mg twice-daily doses demonstrated
                 statistically significant improvements in FEV1 compared to placebo in
   21            adult patients with asthma inadequately controlled with ICS. In
   22            addition, post hoc analyses of Phase 2 safety data related to asthma
                 worsening, including exacerbations, appeared to demonstrate a
   23            reduction in the number of subjects experiencing an asthma event on
   24            fevipiprant compared to placebo. As of December 31, 2018,
                 fevipiprant, at 150 mg once-daily and 450 mg once-daily doses, is
   25            being investigated by Novartis in six Phase 3 clinical trials in asthma
   26            patients.
   27

   28
        6                                                  20
            https://www.sec.gov/Archives/edgar/data/1728117/000119312519032320/d626440d424b4.htm.
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    1         GB001 has been shown in preclinical studies to be a selective
    2
              antagonist of the DP2 receptor. GB001 binds reversibly to human
              DP2 with an affinity, or Ki, of 1 to 2 nanomolar, significantly greater
    3         than its affinity for the other PGD2 receptors. No significant activity
    4         was demonstrated in a standard selectivity panel of 90 other receptors
              and enzymes. GB001 has also shown a slow rate of disassociation
    5         from DP2, with a receptor residence time of 19.8 minutes, as
    6         measured by half-life. Additionally, in an in vitro assay, GB001
              inhibited PGD2 induced internalization of DP2. Combined with our
    7         observed human plasma half-life of 10 to 15 hours, we believe these
    8         measurements support the oral, once-daily dosing regimen of GB001.

    9         69.    In the Prospectus, Gossamer stated that it “expect[ed] to conduct an
   10
        interim analysis in the first half of 2020” on GB001, and that “[i]f the interim
   11

   12   analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”

   13         70.    In the Prospectus, Gossamer further stated:
   14
              We commenced a Phase 2b clinical trial of GB001 in moderate-to-
   15         severe eosinophilic asthma in October 2018, and we expect to conduct
   16         an interim analysis of the results of this trial in the first half of 2020.
              We have designed this trial to efficiently assess proof-of-
   17         principle and help enable rapid transition to Phase 3 clinical trials,
   18         and we have held a Type C meeting with the FDA to inform our trial
              design and endpoints. We plan on enrolling 480 patients in the study
   19         in a 1:1:1:1 randomized to three GB001 dose arms of 20 mg, 40 mg
   20         and 60 mg per day and one placebo arm with once-daily dosing.
   21         We believe that we have designed our trial in a manner to address the
   22         potential shortcomings of the Pulmagen Phase 2 clinical trial, in that:
   23
                            the study population will consist of more severe patients
   24                than those enrolled in the Pulmagen Phase 2 clinical trial;
   25
                          enrollment inclusion criteria will be based on a history of
   26                asthma exacerbations within the last year;
   27

   28
                                                   21
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    1                      enrolled patients will be required to have moderate-to-
    2                severe asthma with eosinophil counts greater than or equal to
                     250 cells/µL; and
    3

    4                      enrolled patients will be closely monitored during the
                     run-in period to help ensure that the lack of adherence to
    5                background therapy is not a contributing factor for their poorly
    6                controlled asthma.
    7         The primary endpoint is reduction in asthma worsening from baseline,
    8         assessed at week 24, with an additional four weeks of follow-up. The
              parameters included in the asthma worsening composite primary
    9         endpoint include changes in FEV1, AM PEF, rescue medication use
   10         and asthma control and severe asthma exacerbations. We will also
              assess FEV1 independently as a secondary efficacy measure.
   11

   12         We plan to conduct an interim analysis after approximately 320
              patients complete the 24-week treatment period, and we expect the
   13         results of this interim analysis to be available in the first half of 2020.
   14         If the results obtained in the interim analysis support further
              development, we plan on initiating our first Phase 3 clinical trial
   15
              thereafter. We expect to report full data from the Phase 2b clinical
   16         trial in the second half of 2020. If the full data support further
              development, we will initiate a second Phase 3 clinical trial.
   17

   18         (Emphasis added).
   19
              71.    The foregoing statements in ¶¶ 54-59, 61-62, and 64-65, and 67-70
   20
        were materially untrue and/or misleading because they misrepresented and/or
   21

   22   failed to disclose adverse facts, as alleged herein. Specifically, these statements:
   23
        (1) misled investors as to the clinical validation of DP2 antagonism by Novartis’
   24
        fevipiprant product, with the implication that this would increase the likelihood of
   25

   26   success for Gossamer’s GB001 candidate; and (2) misrepresented that Gossamer
   27
        intended to (i) release the results of its first half 2020 interim analysis of the Phase
   28
                                                  22
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    1   2b LEDA study for GB001 and (ii) would immediately launch a Phase 3 trial for
    2
        GB001 should that interim analysis be successful.
    3

    4                             POST-IPO DEVELOPMENTS

    5         72.    On March 22, 2019, Gossamer filed its 2018 Annual Report on Form
    6
        10-K (the “2018 10-K”) with the SEC. The 2018 10-K reiterated that:
    7

    8         DP2 antagonism has been clinically validated by Novartis’ oral DP2
              antagonist, fevipiprant, in a Phase 2 clinical trial. In this trial, both the
    9         150 mg once-daily and 75 mg twice-daily doses demonstrated
   10         statistically significant improvements in FEV1 compared to placebo in
              adult patients with asthma inadequately controlled with ICS. In
   11         addition, post hoc analyses of Phase 2 safety data related to asthma
   12         worsening, including exacerbations, appeared to demonstrate a
              reduction in the number of subjects experiencing an asthma event on
   13         fevipiprant compared to placebo.
   14
              73.    The 2018 10-K also provided: “[w]e commenced a Phase 2b clinical
   15

   16   trial in moderate-to-severe eosinophilic asthma in October 2018 and expect to
   17   conduct an interim analysis in the first half of 2020. If the interim analysis is
   18
        positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   19

   20         74.    On May 14, 2019, Gossamer issued its financial results for the First
   21   Quarter of 2019. In the Form 10-Q Gossamer filed with the SEC, the Company
   22
        stated: “[w]e commenced a Phase 2b clinical trial for our most advanced product
   23

   24   candidate, GB001, in moderate-to-severe eosinophilic asthma in October 2018 and
   25   expect to conduct an interim analysis in the first half of 2020. If the interim
   26
        analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   27

   28
                                                   23
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    1         75.   On May 14, 2019, the Company held an earnings call with analysts to
    2
        discuss its First Quarter 2019 financial results. On this call, Defendant Gujrathi
    3

    4   stated:

    5         Let us start with our most advanced clinical stage product candidate
    6         GB001, an oral DP2 antagonist, which is being developed for
              eosinophilic asthma and other allergic conditions, including chronic
    7         rhinositis (sic) [rhinosinusitis], both with and without nasal polyps,
    8         and chronic spontaneous urticaria.

    9         As we had previously announced, our Phase IIb trial in moderate to
   10         severe eosinophilic asthma known as the LEDA study is currently
              enrolling patients and we remain on track to trigger an interim
   11         analysis in the first half of 2020. The LEDA study is testing 3 once
   12         daily doses of GB001, 20, 40 and 60 milligrams against placebo in a
              24-week study.
   13

   14         All patients will remain on background therapy throughout the study
              and the primary endpoint is a composite measure known as asthma
   15         worsening.
   16
              If the interim analysis of the study in the first half of 2020 is positive,
   17         we plan to begin the first of 2 safety trials designed to support NDA
   18         registration with the FDA.
   19         In February at this [AAAAI] meeting in San Francisco, Dr. Hector
   20         Ortega, who is leading the development of GB001 at Gossamer,
              presented results of a post hoc analysis of a GB001 study in patients
   21         with mild to moderate, partly controlled atopic asthma. Findings
   22         presented suggested that fractional exhaled nitric oxide, also known as
              FeNO, could serve as a useful prognostic marker for treatment
   23         response to GB001 in addition to elevated eosinophil, which is the
   24         marker we’re currently using to unveil the LEDA study.
   25         In the analysis, we found marked reductions in FeNO levels as well as
   26         greater numeric improvements in lung function and asthma control,
              where also to placebo in patients with high baseline FeNO as
   27         compared to patients with low baseline FeNO. We are excited about
   28         these results and the potential implications for future development of
              GB001.                            24
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    1

    2
              We have also started to execute our strategy to develop GB001 in
              other allergic conditions driven by Type 2 cytokine biology, where the
    3         GB001 could potentially be first in class.
    4
              76.    On this same May 14, 2019 call, an analyst from Bank of America
    5

    6   Merrill Lynch asked: “all investors are looking forward to the results from

    7   Novartis on the first batch of clinical data from Phase III trials for fevipiprant. So
    8
        can you talk about the read-through? If it’s positive, what does that mean for
    9

   10   GB001, which is obvious I guess? And then, which is negative, how should we

   11   think about any comparative advantage your compound GB001 may have against
   12
        fevipiprant here?” Defendant Gujrathi responded:
   13

   14         So let’s start with the Novartis study [fevipiprant] program. We are
              also very much looking forward to their Phase III data readouts. Just
   15         to remind everyone, they have a large Phase III program actually
   16         consisting of 6 Phase III trials within asthma. 4 of those safety trials
              are reading out later this year.
   17

   18         In terms of their recent guidance, that is still on track and so we are
              anticipating they have 2 exacerbation trials that will be reading out in
   19         September and December time frame and then 2 FEV1 or lung
   20         function trials reading out in around November. So these are LUSTER
              and the ZEAL trials that will be reading out.
   21

   22         And so if that -- those trials are positive in the moderate-to-severe
              asthmatic population including a subgroup eosinophils high patients,
   23         with that, it is a very much a validation of the mechanism of DP2
   24         antagonism and so I think that will be positive to read through to our
              program because of a similar mechanism of action that we -- both the
   25         program share. So we are very much looking forward to that.
   26
              [Now they’re] going into a broad moderate to severe eosinophilic
   27         asthma population, but their primary endpoint is on the subgroup of
   28         high eosinophils or Th2 high subgroups. And we do know that they
              have stated that, that is their base25case in terms of where they think
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    1         they would see positive data, which is very consistent with the way
    2
              we view the biologic relevance and activity both DP2 antagonism and
              for GB001.
    3

    4         Now we do have some points of differentiation to fevipiprant. We
              have a very potent selective molecule which is GB001 and that we
    5         have high binding affinity to the DP2 receptor. We also have
    6         prolonged receptor residence time, which is greater than what has
              been observed with fevipiprant. We have about an 18- to 20-minute
    7         receptor residence time, but Novartis publishes around 12 minutes and
    8         we do think that’s very important for the mechanism of action here as
              we inhibit PGD2 internalization of the DP2 receptor in a very
    9         effective manner.
   10
              And also very importantly, we have, we say, greater PK
   11         characteristics for GB001 and that is different. It has to go up to 150
   12         and 450 milligrams to really reach their exposure that they think are
              clinically efficacious. And we are able to achieve that with much
   13         lower dosing and we think actually better coverage over a 24-hour
   14         period than those dose levels. So there is a potential that we could
              show really potentially better efficacy in the clinic in the case that
   15         fevipiprant doesn’t meet their mark.
   16
              So those are very important characteristics for us for GB001. We will
   17         be watching closely to see what the clinical efficacy and safety profile
   18         is coming out of the fevipiprant Phase III trials and of course we are
              greatly anticipating seeing our interim data in the first half of 2020
   19         followed by the full data readouts later that year.
   20
              77.    Also on May 14, 2019, Defendants Gujrathi and Giraudo participated
   21

   22   in the Bank of America Merrill Lynch Health Care Conference. Defendant
   23   Gujrathi stated:
   24
              [T]he first program GB001 is an oral small molecule taken once a
   25         day. It’s a DP2 antagonist that we’ve taken forward for moderate to
   26         severe asthma, specifically eosinophilic asthma as well as 2 other
              allergic indications: chronic rhinosinusitis with nasal polyps and
   27         without nasal polyps; and chronic spontaneous urticaria. And we are
   28         on track actually to -- or in terms of executing on all 3 of these clinical
                                                   26 LEDA. We started that trial in
              trials. So the first trial we’ve named
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    1         October of last year. We are very much on track to having an interim
    2
              data readout in the first half of 2020, and this is, again, going into
              moderate to severe eosinophilic asthma patients.
    3

    4         In terms of really important news that will be coming out for the
              asthma population, for many of you who know there is another
    5         molecule in the class. Novartis has a drug called fevipiprant which
    6         they’ll be reading out on 4 Phase III trials in the fourth quarter this
              year. So we’re very excited to see that data readout. They have 2 trails
    7         going on in exacerbations and 2 trials looking at lung function. The
    8         exacerbation trial is in what we call moderate to severe [geno step] 4
              and 5. The lung function trials are actually in step 3, 4 and 5, so
    9         they’ve expanded that population. And so that’ll be a very important
   10         set of data for ourselves. And then, again, we will be reading out
              shortly thereafter, and hopefully -- hoping to initiate our first clinical
   11         trial in the Phase III setting, which will be a registration-directed
   12         study.

   13         78.   An analyst from Bank of America Merrill Lynch asked on this call:
   14
        “[s]ince GB001 is the program in the clinic, maybe you can talk about the status
   15

   16   enrollment. For example, there are a lot of development programs for asthma
   17   today. There’s also the biologics that are available today in the market. Do you see
   18
        competition for enrollment for GB001 in the Phase IIb program?” Defendant
   19

   20   Gujrathi responded:
   21         We do in the sense that there are other programs enrolling. But I have
   22         to say there are not that many orals. And so that’s really been the
              differentiation here that we want to be, again, that oral treatment of
   23         choice. And Novartis has actually finished enrolling their large Phase
   24         III program, they had several Phase III programs, actually 6 going on.
              And so that’s been very helpful for us. And there is a lot of
   25         excitement, actually, in the investigator community. Our team just did
   26         a roadshow in Europe led by Dr. Hector Ortega, who is our medical
              lead. And I just mention him because he actually was very pivotal in
   27         defining eosinophilic asthma, working at GSK and getting the first
   28         anti-IL-5 approved, mepolizumab or Nucala. And so he’s been out on
                                                  27 so we think that they’re pretty
              the road talking to our investigators,
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    1         excited about DP2 antagonism. And so we’ve seen a nice uptick in
    2
              our enrollment. So we look at enrollment curves and we like to see
              how we’re tracking. And so we’re very much on track in terms of
    3         where we need to be at this time to be delivering on an interim readout
    4         in the first half of ‘20. So I think that’s going very well.

    5         79.    The same analyst followed up with another question about GB001:
    6
        “[a]nd then you licensed GB001, which actually had a failed Phase II trial. So we
    7

    8   frequently get questions from the investors about, okay, why did that trial fail? And

    9   what do you think your Phase IIb would actually succeed in that context?”
   10
        Defendant Gujrathi responded:
   11

   12         Then of course, Novartis had positive Phase II data looking at lung
              function, and then they had a positive mechanistic study where they
   13         saw a robust reduction in speed of eosinophils. And they recently
   14         reported seeing really nice effects on airway epithelial cells or smooth
              muscle cells. So when we look at the totality of the data, we do know
   15         we have a very potent selective molecule and then just look the way
   16         we’re going after moderate to severe asthmatics with high eosinophils,
              and potentially high FeNO that will be in Phase III, I think we feel
   17         like we have a fair amount of clinical validation for the program.
   18
              80.    On August 8, 2019, Gossamer issued its financial results for the
   19

   20   Second Quarter of 2019. In the Form 10-Q Gossamer filed with the SEC, the
   21   Company stated: “[w]e commenced a Phase 2b clinical trial for our most advanced
   22
        product candidate, GB001, in moderate-to-severe eosinophilic asthma in October
   23

   24   2018 and expect to conduct an interim analysis in the first half of 2020. If the
   25   interim analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   26
              81.    On August 8, 2019, Gossamer held an earnings call with analysts to
   27

   28   discuss its Second Quarter 2019 financial results. On this call, Defendant Gujrathi
                                                   28
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    1   reiterated that “our Phase IIb trial in moderate to severe eosinophilic asthma,
    2
        known as the LEDA study, began enrolling patients in October of 2018. LEDA is a
    3

    4   global Phase IIb study, testing once-daily dosing regimen of GB001 over a 24-

    5   week treatment period. . . . We are happy to reaffirm that enrollment in the study
    6
        remains on track to trigger an interim analysis in the first half of 2020. After this
    7

    8   interim analysis, we expect full top line Phase IIb results to read out in the second

    9   half of 2020.”
   10
              82.    On this call, an analyst from SVB Leerink asked: “I was wondering if
   11

   12   I could get your thoughts on how you interpret Novartis’ delay of their Phase III

   13   data for fevipiprant and how, if at all, it will impact your strategy?” Defendant
   14
        Gujrathi responded:
   15

   16         Yes. So earlier this year, Novartis did announce a delay in terms of --
              originally they had outlined they will be reading out top line data from
   17         4 of their clinical Phase III trials that they are conducting with
   18         currently, the fevipiprant by the end of this year. They revised that
              guidance to state that 2 of their Phase III trials would be reading out
   19         by the end of this year and 2 would be reading out in the first quarter
   20         of 2020, namely there are 2 trials that are really characterizing lung
              function and a more moderate asthma population, ZEAL 1 and 2, will
   21         be reading out in the year; and LUSTER-1 and 2, which are really
   22         their exacerbation trials, will be reading out in the first quarter 2020.
   23         So we don’t really view this as a significant impact to our program,
   24         and that is very much in the similar time frame. I think they just
              wanted to get all of their data together and be able to report out
   25         simultaneously from what we understand from the earnings call. And
   26         I think what’s most critical to relay to our investors is really the
              differences in the trials is that ZEAL 1 and 2 are lung function trials
   27         going into less severe patient population. And really, we’re very
   28         focused on the readout for LUSTER-1 and 2 since those are a very
              similar trial population as to what 29
                                                  we’re enrolling in LEDA. So just to
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    1          remind everyone, LUSTER-1 and 2 are enrolling moderate to severe
    2
               eosinophilic asthmatic patients as well as noneosinophilic asthmatic
               patients with a GINA severity of steps 4 and 5, which is the same
    3          population that we're enrolling in terms of the disease severity in
    4          LEDA. So I think we’re really focused on the outcomes of LUSTER-1
               and 2, which will hopefully be happening at the beginning of next
    5          year. But really all eyes are looking forward. We’re very focused on
    6          execution of the LEDA trials we’ve discussed and very excited about
               the progress of the program.
    7

    8          83.    On September 12, 2019, Gossamer announced that Defendant

    9   Stampacchia had resigned from the Company’s Board of Directors.
   10
                                THE TRUTH BEGINS TO EMERGE
   11
               84.    In October 2019, Novartis announced that its fevipiprant product had
   12

   13   failed to improve long function in two Phase 3 trials, as measured by FEV1, over
   14
        placebo. This was after similar DP2 drugs developed by AstraZeneca and Amgen
   15
        failed in clinical trials. Analysts recognized that this failure “could have negative
   16

   17   implications for Gossamer Bio, which has a DP2 antagonist in phase 2b. When
   18
        Gossamer raised $276 million in an IPO earlier in the year, it said Novartis’
   19
        fevipiprant phase 2 had clinically validated DP2 antagonism. That statement
   20

   21   now looks premature, particularly when viewed in light of the failures of other
   22
        DP2 drugs.” 7
   23

   24
               85.    On November 12, 2019, Gossamer issued its financial results for the

   25   Third Quarter of 2019. In the Form 10-Q Gossamer filed with the SEC, the
   26
        Company stated: “[w]e commenced our LEDA Phase 2b clinical trial for our most
   27
        7
   28    https://www.fiercebiotech.com/biotech/novartis-asthma-drug-fails-phase-3-raising-doubts-
                                                     30 visited on August 30, 2020).
        about-gossamer-s-prospects (emphasis added) (last
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    1   advanced product candidate, GB001, in moderate-to-severe eosinophilic asthma in
    2
        October 2018. We expect to conduct an interim analysis in the first half of 2020,
    3

    4   with full results from the study expected in the second half of 2020. If the interim

    5   analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”
    6
               86.    On November 12, 2019, Gossamer held an earnings call with analysts
    7

    8   to discuss its Third Quarter 2019 financial results. On this call, Defendant Gujrathi

    9   again reiterated that the GB001 LEDA “study is on track to trigger an interim
   10
        analysis in the first half of 2020, once approximately 2/3 of the patients have
   11

   12   completed the trial. In the second half of 2020, we expect to read out full top line

   13   Phase IIb result [sic] for this 400-patient trial.”
   14
               87.    In addition, Defendant Gujrathi discussed that at the American
   15

   16   College of Allergy, Asthma, Immunology Annual Scientific Meeting in Houston,
   17   TX, Gossamer “presented 2 posters related to asthma and GB001. The first
   18
        contained detailed results from the previously discussed proof-of-concept Phase II
   19

   20   study run by our partner, Teijin Pharma, in a 158 mild-to-moderate Japanese
   21   asthmatics. The study met its primary endpoint of change in morning peak
   22
        expiratory flow from baseline versus placebo. Additionally, in the poster, we
   23

   24   showed that treatment with 20 milligrams of GB001 led to a 71% reduction in the
   25   risk of asthma worsening in the overall population, and an 84% reduction in the
   26
        elevated eosinophilic population. These data reinforce our belief that baseline
   27

   28   blood eosinophils are a potential useful marker for response to GB001.”
                                                    31
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    1         88.   On this same call, an analyst from Joh. Berenberg, Gossler & Co. KG
    2
        asked “[f]irst, on GB001. Just a follow-up on the LEDA program. Can you tell us
    3

    4   what data should we expect to be released at the interim analysis?” Defendant

    5   Gujrathi responded:
    6
              So at the time of the interim analysis, that’s again, with about 2/3 of
    7         patients have reached 24 weeks and with the primary endpoint. We
    8         will be looking at the primary endpoint, which is a composite. We’ll
              be looking at the 5 subcomponents of the composite to ensure
    9         consistency and what we’re really looking -- be looking at the rate of
   10         worsened events. And so that’s really the key endpoint that we'll be
              looking for at the study. We’ll also look, of course, at lung function,
   11         and we’ll be looking at safety and tolerability as well. Just to be clear,
   12         we will not be releasing any of this data since this will be an ongoing
              study, but we will be indicating whether we think the data’s in
   13         support of moving forward into Phase III, planning and initiation
   14         purposes. And so that’s what the level of disclosure we'll be
              providing. But really what we’ll be looking for is very robust data on
   15         the composite endpoint, consistency across all the subcomponents of
   16         the composite and, of course, consistency with the secondary
              endpoint.
   17

   18         (Emphasis added).
   19         89.   The same analyst then asked: “A follow-up question on Novartis at
   20
        the Phase III program. So based on your discussions with the FDA and the 0 trial
   21

   22   failure. Do you think that the FDA would require you to run a similar Phase III
   23   trial in moderate asthma patient population with the lung function endpoint? Or is
   24
        it possible that the study could be avoided in your pivotal program?” Defendant
   25

   26   Gujrathi responded:
   27         We have had conversations with the FDA, where they were very
   28         interested in characterizing the efficacy in a broader population
                                               32
              beyond moderate-to-severe eosinophilic      asthma patients. We
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    1         definitely wanted to have that as our patient population for the Phase
    2
              IIb LEDA study because we think that’s where the highest scientific
              rationale lies in terms of the underlying biology for those patients, and
    3         the potential therapeutic effects for DP2 antagonism as well as any
    4         TH2-related mechanism. But we do know that they are interested in
              that characterization.
    5

    6         And Novartis has done quite a bit now to generate data in the
              moderate asthmatics in the mild-to-moderate setting as well as
    7         looking at to all-comers in the LUSTER trial. So our plan is to
    8         continue to have regulatory dialogue, and to talk about that plan.
              We’re ready to see what the data from, again, our own LEDA study.
    9         Of course, we will look at the LUSTER-1 and 2, our data sets when
   10         they become available and take all that back to the regulatory
              authorities to discuss and finalize our Phase III plan.
   11

   12         I will say that we’re seeing clear benefits in the mild-to-severe
              eosinophilic asthma setting, really not a lot of benefit in those other
   13         patient populations. We will try to streamline our Phase III program.
   14         We think that’s the right thing to do for patients. And we also think
              that’s the best use of the adopting revenue sources as well. So those
   15         will be some of our intention.
   16
              90.    On December 16, 2019, Novartis announced that it was terminating
   17

   18   the development of its DP2 antagonist fevipiprant for asthma after it failed another
   19   pair of Phase 3 clinical trials. Analysts noted that, “[f]or Gossamer, detailed data
   20
        from fevipiprant would likely weight heavily on GB001, its lead drug in the same
   21

   22   class.”8
   23         91.    Another analyst commented that “Gossamer had pulled off a highly
   24
        successful $276m Nasdaq flotation in February, and one reason investors stuck
   25

   26   with the company in October is that it itself had indicated that the Zeal trials [by
   27
        8
   28    https://www.biopharmadive.com/news/novartis-fevipiprant-discontinue-asthma-
                                                      33
        gossamer/569149/ (last visited on August 30, 2020).
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    1   Novartis, who announced their failure in October 2019] would likely fail. Today
    2
        that credibility suffered a major sentiment knock-back, and Gossamer bulls and
    3

    4   other DP2 inhibitor developers alike would do well to take note.” 9

    5          92.    On this news, Gossamer’s stock price plummeted by over 37% in one
    6
        day, from a December 13, 2019 close of $25.37 to a December 16, 2019 close of
    7

    8   $15.96 per share. 10

    9          93.    On March 24, 2020, Gossamer filed 2019 Annual Report on Form 10-
   10
        K (the “2019 10-K”) with the SEC.
   11

   12          94.    In its 2019 10-K, Gossamer acknowledged that:

   13          The results from preclinical studies or clinical trials of a product
   14          candidate or a competitor’s product candidate in the same class may
               not predict the results of later clinical trials of our product candidates,
   15          and interim results of a clinical trial are not necessarily indicative of
   16          final results. Product candidates in later stages of clinical trials may
               fail to show the desired safety and efficacy characteristics despite
   17          having progressed through preclinical studies and initial clinical trials.
   18          In particular, while two Phase 2 clinical trials of GB001 had been
               conducted prior to our acquisition of GB001, we do not know how
   19          GB001 will perform in future clinical trials, including as a result of
   20          any differences from targeting a population of more severe asthma
               subjects with elevated eosinophil counts, as well as other differences
   21          in our planned trial design. Further, GB001 did not meet its primary
   22          efficacy endpoint of improvement in FEV1 over 10 weeks in the first
               Phase 2 clinical trial conducted by Pulmagen Therapeutics (Asthma)
   23          Limited, or Pulmagen, and the second Phase 2 clinical trial conducted
   24          by Pulmagen and its partner, Teijin, was limited to only Japanese
               patients. While we have designed our ongoing Phase 2b trial in a
   25          manner intended to address what we believe to be the shortcomings of
   26          the first Pulmagen Phase 2 clinical trial, we cannot be certain that
   27   9
          https://www.evaluate.com/vantage/articles/news/trial-results/other-shoe-drops-gossamers-
   28   gb001 (last visited on August 30, 2020).
        10
           This reflects one trading day, as the weekend 34
                                                         fell over December 14-15, 2019.
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    1         such failure was not due to GB001 itself or that the results of our
    2
              ongoing Phase 2b trial will otherwise be successful in a broader
              patient population. In addition, in October 2019, Novartis announced
    3         that its oral DP2 antagonist, fevipiprant, failed to improve lung
    4         function in a pair of Phase 3 clinical trials of patients with moderate
              asthma, and in December 2019, Novartis announced that the pooled
    5         analysis from a pair of pivotal Phase 3 clinical trials of patients with
    6         moderate-to-severe asthma did not meet the clinically relevant
              threshold for reduction in rate of moderate-to-severe exacerbation and
    7         that the results did not support further development of fevipiprant in
    8         asthma. It is not uncommon to observe results in clinical trials that are
              unexpected based on preclinical studies and early clinical trials, and
    9         many product candidates fail in clinical trials despite very promising
   10         early results.

   11         95.   After the markets closed on May 12, 2020, Gossamer issued a press
   12
        release accompanying its First Quarter 2020 financial results. In this release,
   13

   14   Gossamer announced that, contrary to its prior assertions, it was not going to

   15   immediately launch the Phase 3 study for GB001. In addition, Gossamer did not
   16
        share any specifics of its interim analysis of the Phase 2b study of GB001:
   17

   18         [R]ecently completed a pre-specified interim analysis of LEDA, its
              Phase 2b clinical study of GB001 in moderate-to-severe eosinophilic
   19         asthma. The interim analysis was based on approximately the first two
   20         thirds (~320) of patients who either completed or withdrew from the
              study. The Independent Data Monitoring Committee (IDMC)
   21         reviewed results from the interim analysis and recommended
   22         continuation of the study to its completion without modification.
              Based on the results of the interim analysis and the IDMC
   23         recommendation, Gossamer has commenced initial Phase 3 planning
   24         and supportive activities in anticipation of the completion of the study
              and final analysis of the study data. The final decision to proceed to
   25         Phase 3 will be made based on the totality of the final data from the
   26         LEDA study, as well as discussions with global regulatory authorities.
              Topline results from LEDA continue to be expected in the second half
   27         of 2020.
   28
                                                 35
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    1         96.    Then on October 13, 2020, Gossamer announced the topline results
    2
        for the Phase 2b LEDA trial of GB001 in eosinophilic asthma: the trial failed to
    3

    4   meet its primary endpoints. Moreover, the Company announced that GB001 had

    5   failed to meet its primary or secondary endpoints in the Phase 2 TITAN trial for
    6
        treatment of chronic rhinosinusitis.
    7

    8         97.    As a result of misstatements and omissions in the IPO materials, and

    9   the precipitous decline in the market value of Gossamer’s securities, Lead Plaintiff
   10
        and other members of the Class have suffered significant losses and damages.
   11

   12         98.    Shares of Gossamer common stock were sold at $16.00 per share in

   13   the IPO.
   14
              99.    The facts regarding the IPO materials began to emerge after the IPO,
   15

   16   as detailed herein. On April 3, 2020, the date the initial complaint in this action
   17   was filed (ECF No. 1), Gossamer’s stock price closed at just $10.19 per share,
   18
        down from a 2019 high of $27.15 per share.
   19

   20
                               CLASS ACTION ALLEGATIONS
   21
              100. Lead Plaintiff brings this action as a class action pursuant to Rule 23
   22

   23   of the Federal Rules of Civil Procedure on behalf of a class of all persons and
   24
        entities who purchased or otherwise acquired Gossamer shares pursuant or
   25

   26
        traceable to Gossamer’s Registration Statement and Prospectus in connection with

   27   its IPO, seeking to recover damages caused by Defendants’ violations of the
   28
        federal securities laws and to pursue remedies
                                                 36    under §§ 11 and 15 of the Securities
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    1   Act. Excluded from the Class are Defendants, directors and officers of the
    2
        Company, as well as their families and affiliates.
    3

    4         101. This action is properly maintainable as a class action.

    5         102. The members of the Class are so numerous that joinder of all
    6
        members is impracticable. The disposition of their claims in a class action will
    7

    8   provide substantial benefits to the parties and the Court.

    9         103. There is a well-defined community of interest in the questions of law
   10
        and fact involved in this case. Questions of law and fact common to the members
   11

   12   of the Class which predominate over questions which may affect individual Class

   13   members include:
   14
                  a. Whether Defendants violated the Securities Act;
   15

   16             b. Whether Defendants omitted and/or misrepresented material facts;
   17             c. Whether the IPO materials contained untrue statements of material
   18
                     fact;
   19

   20             d. Whether the Individual Defendants signed the Registration Statement;
   21             e. Whether the Underwriter Defendants acted as underwriters;
   22
                  f. Whether Defendants’ statements omitted material facts necessary to
   23

   24                make the statements made, in light of the circumstances under which
   25                they were made, not misleading;
   26
                  g. Whether the price of the Company’s stock was artificially inflated;
   27

   28                and
                                                  37
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    1             h. The extent of damage sustained by Class members and the appropriate
    2
                     measure of damages.
    3

    4         104. Lead Plaintiff’s claims are typical of those of the Class because Lead

    5   Plaintiff and the Class sustained damages from Defendants’ wrongful conduct
    6
        alleged herein.
    7

    8         105. Lead Plaintiff will adequately protect the interests of the Class and

    9   have retained counsel who are experienced in class action securities litigation.
   10
        Lead Plaintiff has no interests that conflict with those of the Class.
   11

   12         106. The prosecution of separate actions by individual members of the

   13   Class would create a risk of inconsistent or varying adjudications with respect to
   14
        individual members of the Class, which would establish incompatible standards of
   15

   16   conduct for Defendants; or adjudications with respect to individual members of the
   17   Class would, as a practical matter, be dispositive of the interest of other members
   18
        or substantially impair or impede their ability to protect their interests.
   19

   20         107. There will be no difficulty in the management of this litigation.
   21         108. A class action is superior to other available methods for the fair and
   22
        efficient adjudication of this controversy.
   23

   24         109. Defendants have acted on grounds generally applicable to the Class
   25   with respect to the matters complained of herein, thereby making appropriate the
   26
        relief sought herein with respect to the Class as a whole.
   27

   28
                                                   38
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    1                                  CAUSES OF ACTION
    2
                                           COUNT ONE
    3                          Violations of § 11 of the Securities Act
    4                                 (Against All Defendants)

    5         110. Lead Plaintiff repeats and re-alleges each and every allegation
    6
        contained above as if fully set forth herein.
    7
              111. The Registration Statement for the IPO was inaccurate and
    8

    9   misleading, contained untrue statements of material facts, omitted to state other
   10
        facts necessary to make the statements not misleading, and omitted to state
   11
        material facts required to be stated therein.
   12

   13         112. Gossamer is the registrant for the IPO. The other Defendants named
   14
        herein were responsible for the contents and dissemination of the Registration
   15
        Statement.
   16

   17         113. As the issuer of the shares, Gossamer is strictly liable to Lead Plaintiff
   18
        and the Class for any misstatements or omissions in the Registration Statement.
   19
              114. None of the Defendants named herein made a reasonable investigation
   20

   21   or possessed reasonable grounds for the belief that the statements contained in the
   22
        Registration Statement were true, and/or without omissions of any material facts,
   23

   24
        were not misleading.

   25         115. By reason of the conduct alleged herein, each Defendant violated,
   26
        and/or controlled a person who violated, § 11 of the Securities Act.
   27

   28
                                                  39
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    1         116. Lead Plaintiff acquired Gossamer shares pursuant and/or traceable to
    2
        the Registration Statement for the IPO.
    3

    4         117. Lead Plaintiff and the Class have sustained damages. The value of

    5   Gossamer stock has declined substantially subsequent to and due to Defendants’
    6
        violations.
    7

    8         118. At the time of his purchase of Gossamer shares, Lead Plaintiff and the

    9   other members of the Class were without knowledge of the facts concerning the
   10
        wrongful conduct alleged herein and could not have reasonably discovered those
   11

   12   facts prior to within one year of bringing this lawsuit. Moreover, fewer than three

   13   years elapsed between the time that the securities upon which this Count Three is
   14
        brought were offered to the public and the time Lead Plaintiff filed this Complaint.
   15

   16                                   COUNT TWO
                            Violations of § 15 of the Securities Act
   17            (Against All Defendants Except the Underwriter Defendants)
   18
              119. Lead Plaintiff repeats and re-alleges each and every allegation
   19
        contained above as if fully set forth herein.
   20

   21         120. This Count is brought pursuant to § 15 of the Securities Act against
   22
        Gossamer, Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and
   23

   24
        Stampacchia.

   25         121. Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and
   26
        Stampacchia each were control persons of Gossamer by virtue of their positions as
   27

   28
        director and/or senior officer of Gossamer. These Defendants each had a series of
                                                  40
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    1   direct and/or indirect business and/or personal relationships with other directors
    2
        and/or officers and/or major shareholders of Gossamer. Gossamer controlled these
    3

    4   Defendants.

    5         122. Defendants each were culpable participants in the violations of § 11 of
    6
        the Securities Act alleged in Count Three above, based on their having signed
    7

    8   and/or authorized the signing of the Registration Statement and having otherwise

    9   participated in the process that allowed the IPO to be successfully completed.
   10
                                     PRAYER FOR RELIEF
   11
              WHEREFORE, Lead Plaintiff prays for relief and judgment as follows:
   12

   13            a) ordering that this action is a proper class action pursuant to Rule 23(a)
   14
                      and 23(b)(3) of the Federal Rules of Civil Procedure on behalf of the
   15
                      Class as defined herein, and a certification of Lead Plaintiff as class
   16

   17                 representative pursuant to Rule 23 of the Federal Rules of Civil
   18
                      Procedure and appointment of Lead Plaintiff’s counsel as Lead
   19
                      Counsel;
   20

   21            b) awarding compensatory and punitive damages in favor of Lead
   22
                      Plaintiff and the other class members against all Defendants, jointly
   23

   24
                      and severally, for all damages sustained as a result of Defendants’

   25                 wrongdoing, in an amount to be proven at trial, including pre-
   26
                      judgment and post- judgment interest thereon.
   27

   28
                                                 41
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    1              c) awarding Lead Plaintiff and other members of the Class their costs
    2
                      and expenses in this litigation, including reasonable attorneys’ fees
    3

    4                 and experts’ fees and other costs and disbursements; and

    5              d) awarding Lead Plaintiff and the other Class members such other relief
    6
                      as this Court may deem just and proper.
    7

    8                             DEMAND FOR JURY TRIAL

    9          Lead Plaintiff hereby demands a trial by jury in this action of all issues so
   10
        triable.
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        Dated: November 20, 2020                  Respectfully submitted,
   13
                                                   By: /s/ Jacob A. Walker
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        SECOND AMENDED COMPLAINT
        CASE NO. 3:20-CV-00649-DMS-DEB
